                                                                United States Bankruptcy Court
                                                                                 District of Arizona
 In re       GREGG SETH REICHMAN                                                                           Case No.   0:10-bk-24374
                                                                                         Debtor(s)         Chapter    7



                              Declaration of Evidence of Employers' Payments Within 60 Days


                           Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by
                            the debtor from any employer within 60 days prior to the filing of the petition;


                           Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
                            within 60 days prior to the filing of the petition; or


                           Debtor has received the following payments from employers within 60 days prior to the filing of the
                            petition:     .


                            Debtor, GREGG SETH REICHMAN , declares the foregoing to be true and correct under penalty of
                            perjury.



 Date                                                                        Signature
                                                                                         GREGG SETH REICHMAN
                                                                                         Debtor

If attaching pay stubs or other payment advices, it is your responsibility to redact (black out) any social security numbers,
names of minor children, dates of birth or financial account numbers before attaching them to this document.




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